     Case: 1:25-cr-00255 Document #: 27 Filed: 06/13/25 Page 1 of 1 PageID #:151

                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:25−cr−00255
                                                           Honorable Sunil R. Harjani
Syed Mehdi Hussain, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, June 13, 2025:


       MINUTE entry before the Honorable Sunil R. Harjani: [26] MOTION by Syed
Mehdi Hussain for release from custody Pretrial is referred to Magistrate Judge Valdez.
Referral order to follow. Mailed notice (lxs, )




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